                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MINNESOTA


 Minnesota Deer Farmers Association, et al.,                Civil No. 0:23-cv-03907 JRT/LIB

               Plaintiffs,

 v.                                                        MOTION FOR
                                                     PRELIMINARY INJUNCTION
 Sarah Strommen, et al.,

               Defendants.


To:    Philip S. Pulitzer, Assistant Attorney General, 445 Minnesota Street, Suite 1400, St.
       Paul, Minnesota, 55101:

       Please take notice that counsel for the Plaintiffs, Erick G. Kaardal, will move this

Court for a preliminary injunctive order under Rule 65 of the Federal Rules of Civil

Procedure. The Plaintiffs are entitled to declaratory and injunctive relief as supported by

their respective Amended Complaint, memorandum of law, declarations, and exhibits as

submitted to this Court.

       As set out more fully in the memorandum of law, declarations, exhibits, Plaintiffs

claim violations of their federal rights under the Equal Protection Clause, the Due Process

Clause, and Takings Clause of the U.S. Constitution. Plaintiffs submit that they meet the

standards for a preliminary injunction, including that they have probable success on the

merits, they will be irreparably harmed, others will not be substantially harmed, the public

interest will be served, and there is no adequate remedy at law.

       Because a preliminary injunction presents no monetary risks to the Defendants,

Plaintiffs request that no bond be required. Fed. R. Civ. P. 65(c).
       Based upon their submissions Plaintiffs pray that the Court grant this motion and

preliminarily enjoin the Defendants.

       Oral argument is requested on this motion because of the complex legal arguments

involved in this case.


 Dated: February 23, 2024                        /s/Erick Kaardal
                                                 Erick G. Kaardal (MN No. 229647)
                                                 Mohrman, Kaardal & Erickson, P.A.
                                                 150 South Fifth Street, Suite 3100
                                                 Minneapolis, Minnesota 55402
                                                 Telephone: (612) 341-1074
                                                 Email: kaardal@mklaw.com




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